Case 2:19-cv-12789-LJM-EAS ECF No.7 filed 09/25/19 PagelD.28 Page 1of1

AO 440 (Fev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No. 2:19-CV-12789-LJM-EAS
PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any) Equifax Information Services, LLC. C/O CSC-
Lawyers Incorporating Service Company was received by me on (date) 9-25-2019.

[ ] | personally served the summons on the individual at (place) on (date)
> or
[X] | left the summons at the individual’s residence or usual place of abode with (name) Jennifer Dugan

Administrative Assistant, a person of suitable age and discretion who resides there, on (date)
9/25/2019, and mailed a copy to the individual's last known address; or

[ ] | served the summons on (name of individual) , who is designated by law to accept
service of process on behalf of (name of organization) on (date)
> or
[ ] | returned the subpoena unexecuted because:

 

[ ] Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

| declare under penalty of perjury that this information is true.

Date: 9-25-2019 S CLE2

Server’s signature

 

Angela Vermillion
Process Server

 

Printed name and title

Relentless Court Services, Inc.
4337 E. Grand River #101
Howell, MI 48843-7595

 

Server's address

. Additional information regarding attempted service, etc.:

DOCUMENTS SERVED:
Summons In A Civil Action with Complaint

DESCRIPTION OF PERSON SERVED:
Age: 45, Sex: F, Race/Skin Color: White, Height: 5'6", Weight: 160, Hair: Dark Brown, Glasses: N
